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Case 2:04-cr-20134-.]PI\/| Document 63 Filed 08/02/05 Page 1 of 3 Page|D 99

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IN THE UNITED STATES DISTRICT COURT ' 'c‘
FOR THE WESTERN DISTRICT OF TENNESSEE 95 JUL 28 m |_ 33

 

 

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Comes now the Defendant Jolin Knox by and through his attorney of record,
Handel R. Durham, Jr. and moves this honorable Court to continue the trial date
originally scheduled for Monday, August l, 2005 at 10 a.m. to the September rotation
docket.

Counsel for Defendant John Knox needs additional time to prepare for trial and is
scheduled to leave town for 10 day as of August the 4"‘.

Wherefore, premises considered, the Defendant respectfully moves this Court to
continue the trial date until the September rotation docket. David Pritchard, counsel for
the government, does not oppose this Motion.

Respectfully submitted,

 

 

 

JoN PHIPPs merritt
0 U.s. nrsrercr JUDGE Han IR_ Dm_ham’ Jr_
aug l j 2005 n Attomey for Defendant J olin Knox
0 ' turn 100 N Main Bldg, Suite 2601
Memphis, TN 38103

Phone: (901) 543-0866
Fax-. (901) 543¢0865
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Case 2:04-cr-20134-.]PI\/| Document 63 Filed 08/02/05 Page 2 of 3 Page|D 100

Certit`lcation of Service
I, hereby, certify that a copy of the foregoing Motion Was hand delivered to the
Assistant U.S. Attorney, David Pritchard, 8"‘ Floor, Federal Building, 167 N Main St,
Memphis, Tennessee 38103 on this 28th day of July, 2005.

 

Atto ey for Defendant

   

UN1TED sTEATs D1STR1CT COURT - WRESTE DISTR1CT TNNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 63 in
case 2:04-CR-20134 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed

 

 

David Pritchard

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DURHAM & ASSOCIATES
100 North Main St.

Ste. 2601

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Honorable J on McCalla
US DISTRICT COURT

